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            THE                     CODE
                               OF   THE




STATE OF GEORGIA.
                            PREPARED       BY


     R. H. CLARK,       T. R. R. COBB           AND    D. IRWIN.

                  REVISED    AND    CORRECTED     BY


                        DAVID        IRWIN.



                 SECOND             EDITION

           REVISED,   CORRECTED      AND    ANNOTATED    BY


 DAVID    IRWIN,      GEO. N. LESTER             AND    W. B. HILL.



                FOURTH              EDITION.

                            PREPARED       BY


   GEO. N. LESTER,          C. ROWELL           AND    W. B. HILL.



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                           PART        IV.— TITLE       L— DIVISION            IX
                              Offenses against the public peace and tranquility.

                                                                                                          1179-
                                      NINTH     DIVISION

         OFFENSES        AGAINST      THE   PUBLTC    PEACE     AND    TRANQUILITY.^              %   ~
   Section                                            Section.
     4513. Unlawful assemblies.                          1522. Printer, witness.
     4514. Riot.                                        4523.
                                                        4544. Truth proved.
     4515. Aifrays.                                            Forcible entry.
     4516. Dueling, challenging.                        45-'5. Forcible detainer.
     4517. Seconds.                                     4526.
                                                        4-527. Punishment.
     4518. Dueling, fighting.                                  Carrying deadly weapons.
     4519. Officers not preventing.                     4528. Prohibited at public places.
                                                        4528. (a.) Pointing weapon at another
     4520. Libel.
     4521. Charging the " coward.                       45-9. Other offenses.


   §4513. (4440.) (4399.) Unlawful assemblies. If two or more persons
assemble for the purpose of disturbing the public peace, or committing
any unlawful act, and do not disperse on being commanded to do so by
a Judge, Justice, Sheriff, constable, coroner, or other peace officer, such
person so offending shall be guilty of a misdemeanor, and, on conviction,
shall be punished as prescribed in section 4310 of this Code.
   §4514. (4441.) (4400.) Riot. If any two or more persons, either with (a) Acts of
or
or without
    any othera act
               common   cause ofand
                   in a violent   quarrel, do an unlawful
                                      tumultuous  manner, act
                                                           suchofpersons
                                                                  violence,so J|55"6' p"
offending shall be guilty of a riot, and, on conviction, shall be punished
[as prescribed in section 4310 of this Code.] (a.)
   Demand for trial by one of those engaged in a riot, the others continuing their case :
37 Ga., 618. Construction of this law: 20 Ga., 839. No new trial where the charge of
the Court was correct, and there wassjme evidence to support the verdict: 28 Ga., 192.
There was no riot where two men fall to fighting each other : 22 Ga., 488. It cannot be
committed unless as manj^ as two act in the commission of a common intent: 30 Ga.,
27. Where severance on trial of persons charged with a riot is within the Court's dis-
        cretion :34 Ga., 10. Sufficient evidence of identity and misnomer in name of one
appearing on trial of the other separately, did not vitiate: 38 Ga., 184. Motion in
arrest of judgment refused, the facts set up by defendant not appearing from the
Court's records: 42 Ga,, 2u3-205. May be tried separately, and the acquittal of one did
not operate as an acquittal of the other: 51 Ga., 375. Severance and conviction of all,
joint motion for a new trial unobjected to ; costs : 52 Ga., 661-7. A weak case, but the
verdict not disturbed, no written defense or plea being filed : 60 Ga., 127-8. Two of
three convicted under sufficient evidence : 64 Ga., 361.

   2 Whart. Cr. Law, 4^2475 ; 2 Bish. lb., $1096 ; 2 Bish. Cr. Proc, £992; 3 Gr. Ev., §216 ; *
2 Arch. Cr. Pr. and PL, 1697.   " Horning serenade " is : 35 Am. R., 210.
  §4515. (4442.) (4401.) Affrays. An affray is the fighting of two or (a) Acts of
more persons in some public place, to the terror of the citizens and dis- ^g5"6, p-
turbance of the public tranquility. Persons so offending shall be in-
        dicted, and, on conviction, shall be punished [as prescribed in section
4310 of this Code] ; (a.) and it shall be considered a great aggravation
of this offense if any contempt or disobedience of the magistrate, or
other peace officer commanding the peace" shall be proved.
   Two indicted, both must be convicted or neither; words alone will not constitute,
but words with actswTill; one aiding, assisting and abetting guilty as principal : 13
Ga., 322.

and2 Wharf.  Cr. 30Law,
     PL, 1709;       Am. §2494;
                           R., 86.2 Bishop lb., §32-37;' 2 Bish. Cr. Proc, §16; 2 Arch. Cr. Pr.

   §4516. (4443.) (4402.) Dueling. If any person shall deliberately chal-
            lenge, by word or writing, the person of another, to fight with sword,
pistol, or other deadly weapon, or if any person so challenged shall ac-
       cept the said challenge, in either case, such person so giving, or send-
      ing, or accepting any such challenge, shall, on conviction, be punished
by a fine not less than five hundred dollars, and be imprisoned in the
common jail of the county for any time not exceeding six months.
Or, if the jury should so recommend, such person shall, in addition to
the fine herein imposed, b3 punished by imprisonment and labor in,
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and considered the author himself, and be indicted and punished as
such; and may, moreover, be punished for a contempt of the Court, as
any other witness refusing to testify.
   §4523.
nient  for a(4450.)
              libel, or(4409.)   The truth
                          for slander, the 'is evidence.
                                            person        In all shall
                                                     prosecuted   cases beof allowed
                                                                              indict- 52979.
to give the truth in evidence.
   §4524. (4451.) (4410.) Forcible entry. Forcible entry is the violently §4085 etseq.
taking possession of lands and tenements with menaces, force and
arms, and without authority of law.
   The prosecutor dispossessed, or from whom possession detained, a competent witness :
24 Ga., 191. The force must be private, not public, and when the entry under legal
process by landlord was not within the terms of this section : 61 Ga., 496.
   2 Whart. Cr. Law, $2013; 2 Bish. lb., $463; 2 Arch. Cr. Pr. and PL, 1128.
  §4525. (4452.) (4411.) Forcible detainer. Forcible detainer is the vio-§4085e* seq.                    i
lently keeping possession of lands and tenements with menaces, force
and arms, and without authority of law.
   Section cited: 43 Ga., 433.
   §4526. (4453.) (4412. ) Punishment for forcible entry or detainer. Any
person who shall be guilty of a forcible entry, or a forcible detainer, or
both, may be indicted, and, on conviction, shall be punished by fine or
imprisonment in the common jail of the county, or both, at the dis-
         cretion of the Court ; and the Court before whom the conviction takes
place shall cause restitution of possession of the premises to be made
to the party aggrieved : Provided, always, that if the party forcibly de-
             taining lands and tenements, or those under whom he claims, shall
have been in peaceable possession of the same for the space of three
years or more, immediately preceding the filing of the complaint, such
person or party shall not be subject to the penalties of this section,
nor shall restitution of possession be made : and provided, also, that the
only questions to be submitted to and determined by the jury in trials
for forcibly entry, or forcible detainer, shall be the possession and the
force, without regard to the merits of the title on either side.
   §4527. (4454.) (4413.) Carrying concealed weapons.         Any person ha v- Act of \&zi,<2-*^*£>.
ing or carrying about his person, unless in an open manner and fully Acfiof8ig£i'F*"^*cP
exposed to view, any pistol (oxcopt horooman-s piotol), dirk, sword in a -% p. 269.
cane, spear, bowie knife, or any other kind of knives manufactured jBssefp.0
and sold for the purpose of offense and defense, shall be guilty of a233-
misdemeanor, and, on conviction, shall be punished as prescribed in
section 4310 of this Code.
   Constitutionality of the Act of 1837 : 1 Ga., 243 251. .Act of 1851-2 did not repeal
section 4570: 12 Ga., 1. If weapons carried so that others could see and know it was a
pistol or weapon, it was no violation of the Act of 1851-2, although some part of it con-
         cealed from view: 32 Ga., 225. Otherwise if so far concealed, although partially ex-
       posed to view, so that it could not be readily seen and recognized as a pistol : 32 Ga.,
292. Carrying concealed weapons is not always in law evidence of malice : 33 Ga., 303.
When cannot prove defendant's custom to carry weapons exposed to' view, on a charge
of having concealed weapons at a certain time and place : 36 Ga., 242. As to the strict
enforcement of this part of the criminal law: 31 Ga., 420-421. Army repeaters and
horseman's pistols on the same footing, but not when carried concealed: 44 Ga., 221-2.
When no evidence of motive in putting pistol in defendant's pocket : 46 Ga., 294. The
Court should not express an opinion on the facts ; counsel can present their view of the
law and the facts to the jury: 10 Ga., 213; 56/503. Sufficient evidence to sustain the
verdict of guilty: 52 Ga., 40. Continuance, evidence : 61 Ga.,481. When mainspring
of the weapon disabled so as to prevent its discharge, was no excuse: 61 Ga., 417.
Where no legal jeopardy, and newly discovered evidence not a ground for new trial :
60Ga.,601.
   2 Bish. Cr. Law, $120; 2 Whart. 76., §2496; 25 Am. R., 561-3, n. Pistols, one un-
          loaded and one without tube, not weapons : 36 Am. R., 15.
   §4528. Deadly weapons not to be carried to public places. No person in (a) Acts of
this State is permitted or allowed to carry about his or her person, any ActsSf iUs
dirk, bowie knife, pistol or revolver, or any kind of deadly weapon to -9, p. 64.
any Court of justice, or any election ground or precinct, or any place of
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  1182    #              PART      IV.— TITLE          L— DIVISION           IX.
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            public worship, or any other public gathering in this State, except
            militia muster-grounds ; and if any person or persons shall violate any
            portion of this section, he, she or they shall be guilty of a misdemeanor,
            and, upon conviction, shall ba punished by a fine of not less than twenty
            nor more than fifty dollars for each and every such offense, or impris-
                      onment in the common jail of the county not less than ten nor more
            than twenty days, or both, at the discretion of the Court : Provided, that
            this section shall not apply to any Sheriff, deputy Sheriff, coroner, con-
                    stable, marshal, policeman, or other arresting officer or officers in this
            State or their posses, acting in the discharge of their official duties.
               Indictment sufficient, and this law not unconstitutional:           53 Ga., 472.   What is a
            deadly weapon : 30 Ga., 138 ; 41/155 ; 15/223.

1 * " - \"'' *fc§4528. (a.) Pointing iveapon at another. Any person who shall inten-
- ■■Actsyf '1880 Moiially point or aim a gun or pistol, whether loaded or unloaded, at
  .-1, p. ioi. another, not in a sham battle by the military, and not in self-defense,
                 or in defense of habitation, proparty or person, or other instances stand-
                      ing upon like footing of reason and justice, shall be guilty of a misde-
                             meanor, and, upon conviction thereof, shall be punished as prescribed
                 in section 4310 of this Code.
                    §4529. (4455.) (4414.) Other offenses against public peace.       All other of-
   (a) Acts of fenses against the public peace, not provided for in this Code, shall be
   m6' P' prosecuted and indicted as heretofore, and the punishment in every such
                 case, shall be [as prescribed in section 4310 of this Code.] (a.)
              Section cited: 53 Ga., 127.
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